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                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA
                    VS                                             CASE NO. 3:00-CR-77-001/LAC

    ZEDRA BOGNAR-HARTLEY

                                   FINANCIAL REFERRAL AND ORDER

Regarding refund of funds for: Fine, X Restitution,          Filing Fee,   Attorney Admission Fee,
   Copy Fee, Bond,         Other (Specify)

By:      Zedra Bognar-Hartley (Payee)
Address: 18 S. Broadway
         Baltimore, MD 21231


Receipt Number 300-113202

Date of Receipt          5/30/06

Motion: N/A

Explanation: A review of the payment records for Ms. Hartley indicates an overpayment of $10.90.
According to the court dockets and financial records, Ms. Hartley does not owe any additional money
and should be reimbursed $10.90.

WILLIAM M. McCOOL, Clerk of Court

Prepared by: __s/Philip Detweiler_____________
            Philip Detweiler, Financial Specialist               Date: July 5, 2006

Referred by:        Mary Maloy, Deputy Clerk


                                               ORDER OF COURT

It is ORDERED this 5th day of July, 2006, that the Clerk refund the identified funds to the payee.

APPROVED                  XX

DENIED_________________                                 s /L.A. Collier
                                                              LACEY A. COLLIER
                                                       SENIOR UNITED STATES DISTRICT JUDGE


Adopted: 12/03/99
